           Case 2:08-cr-00390-GEB Document 118 Filed 06/10/10 Page 1 of 3


     MICHAEL B. BIGELOW
1    Attorney at Law
     State Bar No. 65211
2    428 J Street, Suite 350
     Sacramento, CA 95814
3    Telephone: (916) 443-0217
     Email: mbigelow6401@sbcglobal.net
4
     Attorney for Defendant
5    Son Nguyen
6
                       IN THE UNITED STATES DISTRICT COURT
7
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                      )   Case No. Cr.S-08-390 GEB
     UNITED STATES OF AMERICA,         )
10                                     )
                  Plaintiff,           )   AMENDED
11                                     )   STIPULATION AND PROPOSED ORDER
          vs.                          )   CONTINUING STATUS
12                                     )
     SON NGUYEN                        )   Date: August 6, 2010
13   TUY NGUYEN                        )   Time: 9:00 AM
     JOHN LI                           )
14                                         Court: GEB
                                       )
                  Defendants           )
15

16
                         STIPULATION TO CONTINUE HEARING
17
          Pursuant to agreement between the parties it is hereby
18

19   stipulated that hearing in the above referenced matters be

20   continued to August 6, 2010 at 9:00 AM.

21        The basis for this request is that defense counsel are

22   continuing to review discovery with their clients and are in

23   active plea negotiations with the government.
24        IT IS FURTHER STIPULATED that the period from June 11,
25
     2010, (the date set for the status conference) through and



                                        -1-
           Case 2:08-cr-00390-GEB Document 118 Filed 06/10/10 Page 2 of 3


     including August 6, 2010, be excluded in computing the time
1
     within which trial must commence under the Speedy Trial Act,
2
     pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
3

4    continuity and preparation of counsel.

5

6    DATED: June 8, 2010,                     Respectfully submitted

7

8                                             /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
9                                             Attorney for Son Nguyen
10
     IT IS SO STIPULATED
11

12

13   /S/MICHAEL BECKWITH, Esq.,
     Michael Beckwith, Esq.,                       Dated: June 8, 2010
14   Assistant United States Attorney
     Attorney for Plaintiff
15

16   /S/MICHAEL B. BIGELOW, Esq.,                  Dated: June 8, 2010,
     Michael B. Bigelow
17   Attorney for Defendant
     Son Nguyen
18

19
     /S/JOHNNY L. GRIFFITH III, Esq.,              Dated: June 8, 2010
20
     Johnny L. Griffith III, Esq.,
     Attorney for Defendant
21   John Li

22
     /S/DAVID W. DRATMAN, Esq.,                    Dated: June 8, 2010
23   David W. Dratman, Esq.,
     Attorney for Defendant
24   Tuy Nguyen
25




                                        -2-
              Case 2:08-cr-00390-GEB Document 118 Filed 06/10/10 Page 3 of 3



1

2
                                          ORDER
3
                  IT IS ORDERED: that pursuant to stipulation the above
4
     referenced matters shall be continued until August 6, 2010 at
5
     9:00 PM, and time excluded for the reasons set forth above.
6
     6/9/10
7

8                                     GARLAND E. BURRELL, JR.
                                      United States District Judge
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                           -3-
